       Case 5:20-cr-00387-DAE Document 481 Filed 06/23/22 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

USA                                     §
                                        §
vs.                                     §     NO: SA:20-CR-00387
                                        §     (3,4,5,7,8,10,11,13,14,15)-DAE
(3) Jose Angel Villarreal               §
(4) Frank Zepeda                        §
(5) Jose Tabares                        §
(7) Michelle Zamarripa                  §
(8) Jacqueline Alvarez                  §
(10) Jay Haggard                        §
(11) Gary Piercefield                   §
(13) David Gomez                        §
(14) Asdrubal Tovar-Mendez              §
(15) Anthony Arellano                   §

                 ORDER CONTINUING TRIAL DATE
         AND EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
      On June 23, 2022 the Court granted the unopposed motion for continuance
filed by co-defendant, Matthew Villa (6). There being no severance granted in this
cause of action, the Court finds that these defendants shall proceed to trial with
his/her co-defendants.
      IT IS THEREFORE ORDERED THAT trial of this case, currently set for
Monday, July 18, 2022, be and hereby is continued.
      The deadline for notifying the court of any plea agreement entered
      into by the parties in this cause is Friday, September 30, 2022 . No
      plea agreement entered into after that date shall be honored by this
      Court without good cause shown for the delay.

      Should a plea agreement be reached and filed in this case absent
      written objection filed contemporaneously therewith, this case will be
      referred to a United States Magistrate Judge for the purpose of
        Case 5:20-cr-00387-DAE Document 481 Filed 06/23/22 Page 2 of 4




      administering the plea of guilty and the Fed. R. Crim. P. 11
      allocution, subject to final approval and the imposition of sentence by
      the United States District Court.

     Jury selection and trial are reset for October 17, 2022 at 09:30 AM
     in Courtroom F of the United States Courthouse, 262 W. Nueva Street,
     San Antonio, Texas. All pretrial motions, including motions in
     limine, are due October 04, 2022, responses due October 06, 2022.
     No pretrial motions will be accepted by the court after said deadlines,
     without showing good cause for the delay.

      The Court finds that the period between July 18, 2022, and October
17, 2022, is a reasonable period of necessary delay to allow counsel to
negotiate a plea; and/or to review discovery and the record to date, and to
prepare for trial. The Court finds that the interest of justice served by taking
such action outweighs the best interest of the public and the defendant in a
speedy trial, and further finds that such period shall be excluded from the
time within which the defendant must be brought to trial under the Speedy
Trial Act pursuant to 18, United States Code, Section 3161(h)(7).


Pretrial Submissions
          The Court ORDERS all parties to serve and file the following
information by the close of business Monday, October 10, 2022:
          (1) A list of questions the party desires the court to ask prospective jurors.
          (2) A list of stipulated facts.
          (3) An appropriate identification of each exhibit as specified in this rule
(except those to be used for impeachment only), separately identifying those that the
party expects to offer and those that the party may offer if the need arises.
          (4) The name and, if not previously provided, the address and telephone
        Case 5:20-cr-00387-DAE Document 481 Filed 06/23/22 Page 3 of 4




number of each witness (except those to be used for impeachment only), separately
identifying those whom the party expects to present and those whom the party may
call if the need arises.
          (5) The name of those witnesses whose testimony is expected to be
presented by means of a deposition and designation by reference to page and line of
the testimony to be offered (except those to be used for impeachment only) and, if
not taken stenographically, a transcript of the pertinent portions of the deposition
testimony.
          (6) Proposed jury instructions and verdict forms.         The parties are
ORDERED to meet and confer and submit a joint proposed set of jury instructions.
Any jury instructions to which both parties do not agree must be submitted
separately with appropriate citations to the law supporting those instructions. Joint
jury instructions shall be submitted in complete format as they would appear when
submitted to the jury. The joint jury instructions shall also be emailed in a Word
document         to        Priscilla    Springs,       Courtroom     Deputy        at
Priscilla_Springs@txwd.uscourts.gov.
           (7) An estimate of the probable length of trial.


Objections to Pretrial Submissions
          The Court also ORDERS both parties to serve and file the following
information by close of business on Wednesday, October 12, 2022:
          (1) A list disclosing any objections to the use under Rule 32(a) of
deposition testimony designated by the other party.
(2) A list disclosing any objection, together with the grounds therefore, that may be
made to the admissibility of any exhibits. Objections not so disclosed, other than
       Case 5:20-cr-00387-DAE Document 481 Filed 06/23/22 Page 4 of 4




objections under Federal Rules of Evidence 402 and 403 shall be deemed waived
unless excused by the court for good cause shown.
      IT IS SO ORDERED.
      DATED: San Antonio, Texas, June 23, 2022.




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                                           DAVID A. EZRA
                                           SENIOR U.S. DISTRICT JUDGE
